     Case 2:23-cv-00055-AM Document 23-1 Filed 10/30/23 Page 1 of 42




                  THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF TEXAS
                           DEL RIO DIVISION


STATE OF TEXAS,

                      Plaintiff,        Case No. 2:23-cv-00055-AM
          v.
                                        Hon. Alia Moses
U.S. DEPARTMENT OF HOMELAND
SECURITY, et al.,
                  Defendants.



           DEFENDANTS’ OPPOSITION TO TEXAS’S MOTION
     FOR PRELIMINARY INJUNCTION OR STAY OF AGENCY ACTION
            Case 2:23-cv-00055-AM Document 23-1 Filed 10/30/23 Page 2 of 42




                                                  TABLE OF CONTENTS

INTRODUCTION ........................................................................................................................ 1

BACKGROUND ........................................................................................................................... 2

I.       Statutory Background ...................................................................................................... 2

II.      Factual Background .......................................................................................................... 5

III.     Litigation History .............................................................................................................. 8

LEGAL STANDARD ................................................................................................................... 9

ARGUMENT............................................................................................................................... 10

I.       Texas Is Unlikely To Succeed On Its Claims. .............................................................. 10

          A.         The Court lacks jurisdiction to grant Texas’s requested relief. ................... 10

          B.         Texas may not assert its state-law claims against Defendants. ................... 12

          C.         Judicial review is not available under the APA. ........................................... 15

                     i.        Defendants’ actions are committed to agency discretion by
                               law. ........................................................................................................... 16

                     ii.       The alleged “policy, practice, and pattern” is not final
                               agency action.. ........................................................................................ 19

          D.         Defendants’ actions are consistent with their broad
                     statutory authority. ............................................................................................ 23

          E.         Defendants’ actions do not constitute a legislative rule. .............................. 25

          F.         Defendants’ actions are not arbitrary or capricious. ..................................... 28

II.      Texas Has Not Demonstrated That It Will Suffer Irreparable Harm. ..................... 29

III.     An Injunction Would Be Contrary To The Equities And The Public Interest........ 31

CONCLUSION ............................................................................................................................33




                                                                      i
            Case 2:23-cv-00055-AM Document 23-1 Filed 10/30/23 Page 3 of 42




                                               TABLE OF AUTHORITIES


Cases

Al Otro Lado, Inc. v. Nielsen,
  327 F. Supp. 3d 1284 (S.D. Cal. 2018) ................................................................................... 21

All. for Hippocratic Med. v. FDA,
  78 F.4th 210 (5th Cir. 2023) ...................................................................................................... 9

Anibowei v. Morgan,
 70 F.4th 898 (5th Cir. 2023) .................................................................................................... 29

Arizona v. Biden,
  40 F.4th 375 (6th Cir. 2022) .................................................................................................... 22

Arizona v. California,
  283 U.S. 423 (1931) .................................................................................................................. 15

Arizona v. United States,
  567 U.S. 387 (2012) .................................................................................................................... 2

Bark v. U.S. Forest Serv.,
  37 F. Supp. 3d 41 (D.D.C. 2014) ............................................................................................ 20

Biden v. Texas,
  142 S. Ct. 2528 (2022).............................................................................................................. 11

CAE Integrated, LLC v. Moov Techs., Inc.,
 44 F.4th 257 (5th Cir. 2022) ...................................................................................................... 9

City of New York v. Dep’t of Def.
  913 F.3d 423 (4th Cir. 2019) ................................................................................................... 20

Dennis Melancon, Inc. v. City of New Orleans,
  703 F.3d 262 (5th Cir. 2012) ................................................................................................... 29

Dep’t of Labor v. Kast Metals Corp.,
  744 F.2d 1145 (5th Cir. 1984) ................................................................................................. 26

Dickson v. United States,
  11 F.4th 308 (5th Cir. 2021) .................................................................................................... 14


                                                                     ii
            Case 2:23-cv-00055-AM Document 23-1 Filed 10/30/23 Page 4 of 42




DRG Funding Corp. v. Sec. of Hous. & Urban Dev.,
 76 F.3d 1212 (D.C. Cir. 1996) ................................................................................................. 22

El-Shifa Pharm. Indus. Co. v. United States,
  607 F.3d 836 (D.C. Cir. 2010) ........................................................................................... 13, 15

Fla. Wildlife Fed. v. Goldschmidt,
  611 F.2d 547 (5th Cir. 1980) ................................................................................................... 16

Garland v. Aleman Gonzalez,
  142 S. Ct. 2057 (2022)........................................................................................................ 10, 11

Geo Grp., Inc. v. Newsom,
  50 F.4th 745 (9th Cir. 2022) .................................................................................................... 15

Haaland v. Brackeen,
 143 S. Ct. 1609 (2023).............................................................................................................. 31

Hancock v. Train,
 426 U.S. 167 (1976) .................................................................................................................. 15

Heckler v. Chaney,
  470 U.S. 821 (1985) ............................................................................................................ 16, 17

Hernandez v. Mesa,
  140 S. Ct. 735 (2020)................................................................................................................ 18

Hunsucker v. Phinney,
 497 F.2d 29 (5th Cir. 1974) ..................................................................................................... 12

In re Supreme Beef Processors, Inc.,
  468 F.3d 248 (5th Cir. 2006) (en banc) ............................................................................ 13, 14

Johnson v. Maryland,
  254 U.S. 51 (1920) .................................................................................................................... 15

Kokkonen v. Guardian Life Ins. Co. of Am.,
  511 U.S. 375 (1994) .................................................................................................................. 12

Lane v. Pena,
  518 U.S. 187 (1996) .................................................................................................................. 13

Leslie Miller, Inc. v. Arkansas,
  352 U.S. 187 (1956) .................................................................................................................. 15
                                                                    iii
            Case 2:23-cv-00055-AM Document 23-1 Filed 10/30/23 Page 5 of 42




Lincoln v. Vigil,
  508 U.S. 182 (1993) .................................................................................................................. 17

Lujan v. Nat’l Wildlife Fed.,
  497 U.S. 871 (1990) .................................................................................................................. 20

Mayo v. United States,
 319 U.S. 441 (1943) ............................................................................................................ 14, 15

McGuire v. Turnbo,
 137 F.3d 321 (5th Cir. 1998) ................................................................................................... 14

Michigan v. U.S. Army Corps. of Eng’rs,
 667 F.3d 765 (7th Cir. 2011) ................................................................................................... 13

Mock v. Garland,
 75 F.4th 563 (5th Cir. 2023) .................................................................................................... 26

Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins. Co.,
 463 U.S. 29 (1983) .................................................................................................................... 28

Munaf v. Geren,
 553 U.S. 674 (2008) .................................................................................................................. 11

Nken v. Holder,
  556 U.S. 418 (2009) .................................................................................................................. 32

Norton v. S. Utah Wilderness All.,
 542 U.S. 55 (2004) .................................................................................................................... 19

Perez v. Mortg. Bankers Ass'n,
  575 U.S. 92 (2015) .................................................................................................................... 26

Pros.& Patients for Customized Care v. Shalala,
  56 F.3d 592 (5th Cir. 1995) ..................................................................................................... 26

Sambrana v. United Airlines, Inc.,
  2022 WL 486610 (5th Cir. Feb. 17, 2022) .............................................................................. 30

Sierra Club v. Peterson,
  228 F.3d 559 (5th Cir. 2000) ............................................................................................. 19, 20



                                                                    iv
            Case 2:23-cv-00055-AM Document 23-1 Filed 10/30/23 Page 6 of 42




Sierra Club v. U.S. Dep’t of Interior,
  990 F.3d 909 (5th Cir. 2021) ................................................................................................... 28

Soundboard Ass’n v. FTC,
  888 F.3d 1261 (D.C. Cir. 2018) ............................................................................................... 22

Steele v. City of Hous.,
  603 S.W.2d 786 (Tex. 1980) .................................................................................................... 25

Talbert v. United States,
  932 F.2d 1064 (4th Cir. 1991) ................................................................................................. 14

Texas v. EPA,
  983 F.3d 826 (5th Cir. 2020) ................................................................................................... 18

Texas v. United States,
  809 F.3d 134 (5th Cir. 2015) ............................................................................................. 26, 27

Towers Charter & Marine Corp. v. Cadillac Ins. Co.,
  894 F.2d 516 (2d Cir. 1990) .................................................................................................... 30

Trump v. Vance,
  140 S. Ct. 2412 (2020).............................................................................................................. 14

U.S. Army Corps of Eng’rs v. Hawkes Co.,
  578 U.S. 590 (2016) ............................................................................................................ 19, 22

United States v. Delgado-Garcia,
 374 F.3d 1337 (D.C. Cir. 2004) ............................................................................................... 18

United States v. Mitchell,
 463 U.S. 206 (1983) ............................................................................................................ 12, 13

United States v. Texas,
 143 S. Ct. 1964 (2023).................................................................................................. 12, 18, 30

United States v. Washington,
 142 S. Ct. 1976 (2022).............................................................................................................. 14

United States v. Williams,
 514 U.S. 527 (1995) .................................................................................................................. 13

Webster v. Doe,
 486 U.S. 592 (1988) .................................................................................................................. 17
                                                                    v
            Case 2:23-cv-00055-AM Document 23-1 Filed 10/30/23 Page 7 of 42




Westbay Steel, Inc. v. United States,
 970 F.2d 648 (9th Cir. 1992) ................................................................................................... 14

Winter v. Nat. Res. Defense Council, Inc.,
 555 U.S. 7 (2008) ................................................................................................................ 29, 32

Statutes

5 U.S.C. § 551 ........................................................................................................................ 19, 25

5 U.S.C. § 553 ........................................................................................................................ 25, 26

5 U.S.C. § 554 .............................................................................................................................. 25

5 U.S.C. § 701 .................................................................................................................. 16, 17, 19

5 U.S.C. § 702 .................................................................................................................. 13, 14, 15

5 U.S.C. § 704 ........................................................................................................................ 16, 19

5 U.S.C. § 705 .......................................................................................................................... 9, 11

5 U.S.C. § 706 ................................................................................................................................ 8

6 U.S.C. § 202 .............................................................................................................................. 17

6 U.S.C. § 211 .................................................................................................................... 3, 17, 23

8 U.S.C. § 1103 ..................................................................................................................... passim

8 U.S.C. § 1158 .............................................................................................................................. 5

8 U.S.C. § 1182 .............................................................................................................................. 2

8 U.S.C. § 1225 ..................................................................................................................... passim

8 U.S.C. § 1226 .............................................................................................................. 2, 4, 11, 23

8 U.S.C. § 1227 .............................................................................................................................. 2

8 U.S.C. § 1252 .......................................................................................................... 10, 11, 12, 16

8 U.S.C. § 1325 .............................................................................................................................. 2
                                                                      vi
            Case 2:23-cv-00055-AM Document 23-1 Filed 10/30/23 Page 8 of 42




8 U.S.C. § 1326 .............................................................................................................................. 2

8 U.S.C. § 1328 .............................................................................................................................. 5

8 U.S.C. § 1357 ..................................................................................................................... passim

19 U.S.C. § 1630 ................................................................................................................... passim

28 U.S.C. § 1331 .......................................................................................................................... 12

28 U.S.C. § 1346 .............................................................................................................. 12, 14, 30

28 U.S.C. § 1356 .......................................................................................................................... 12

28 U.S.C. § 1367 .......................................................................................................................... 12

Regulations

8 C.F.R. § 287.1 ............................................................................................................ 4, 16, 18, 23

Other Authorities

CBP, Southwest Land Border Encounters (By Component) (last modified Oct. 21, 2023),
 https://perma.cc/7WKS-2GRF ............................................................................................. 5

Charles Alan Wright & Arthur R. Miller, 11A Federal Practice & Procedure § 2944
  (3d ed. Apr. 2023 update) ..................................................................................................... 30

Government of Mexico, Information Note No. 04 (July 14, 2023),
 https://perma.cc/V72L-GTXE ............................................................................................ 32

Government of Mexico, Information Note No. 05 (July 26, 2023),
 https://perma.cc/F932-U9T9 .............................................................................................. 33

H.R. Rep. No. 82-1377, 1952 U.S.C.C.A.N. 1358 ...................................................................... 3

Treaty of Peace, Friendship, Limits, and Settlement between the United States of America
  and      the     Mexican       Republic,               Feb.            2,         1848,           9         Stat.           922,
  1848 WL 6374 (July 4, 1848) .....................................................................................................5




                                                                     vii
       Case 2:23-cv-00055-AM Document 23-1 Filed 10/30/23 Page 9 of 42




                                   INTRODUCTION

      The Department of Homeland Security (DHS) and its officers and agents are

charged with, among other things, protecting the Nation’s borders and enforcing the

immigration laws, including apprehending, inspecting, and processing noncitizens who

have entered the United States unlawfully. No State or private party may obstruct the

performance of those statutory duties. By deploying approximately 4 miles of concertina

wire along the bank of the Rio Grande River without consultation with DHS, however,

Texas has created such an obstruction—the wire impedes U.S. Border Patrol agents’

access to noncitizens who have already crossed the international boundary in the middle

of the Rio Grande into the United States. Border Patrol agents, therefore, properly have

cut or moved that wire when necessary to carry out their statutory duties, including to

apprehend, inspect, and process these noncitizens.

      Raising state common law claims and a variety of Administrative Procedure Act

(APA) claims, Texas seeks an injunction against further “disrupt[ion] [of] the State’s

border security efforts” by “cutting Texas’s concertina wire.” Mot. for Prelim. Inj. at 3,

ECF No. 3-1 (PI Mot.). But Texas has things backwards. The Constitution assigns the

responsibility over immigration and border security to the federal government, not to the

States. That fundamental misunderstanding is fatal to Texas’s claims and requests for

injunctive relief. The Court should not accept Texas’s invitation to impose the State’s

immigration policy preference on the federal government. Rather, it should deny Texas’s

motion for preliminary injunction because Texas cannot establish that it will likely



                                            1
       Case 2:23-cv-00055-AM Document 23-1 Filed 10/30/23 Page 10 of 42




succeed on the merits, that it will suffer irreparable harm, or that the equities favor issuing

the extraordinary relief sought.

       For these reasons and those below—including significant jurisdictional bars to

Texas’s requested injunctive relief and the lack of any material factual disputes—the

Government also respectively requests that the Court dissolve the October 30, 2023

Temporary Restraining Order (TRO) as soon as possible, before the TRO’s current

expiration date of November 13, 2023.

                                      BACKGROUND

I.     Statutory Background

       The federal government “has broad, undoubted power over the subject of

immigration and the status of [noncitizens],” which “rests, in part, on the National

Government’s constitutional power to ‘establish an uniform Rule of Naturalization’ and

its inherent power as sovereign to control and conduct relations with foreign nations.”

Arizona v. United States, 567 U.S. 387, 394-95 (2012). To that end, Congress has specified

who may be admitted to the United States, see, e.g., 8 U.S.C. § 1182, criminalized unlawful

entry and reentry, see id. §§ 1325, 1326, and determined who may be removed and under

what conditions, see id. §§ 1182, 1225-1227. See Arizona, 567 U.S. at 395-96.

       DHS has significant discretion to exercise its “power and duty to control and

guard the boundaries and borders of the United States against the illegal entry of

[noncitizens].” 8 U.S.C. § 1103(a)(5). The Secretary of Homeland Security may “establish

such regulations” and “perform such other acts as he deems necessary for carrying out

his authority under [8 U.S.C. §§ 1101-1537].” Id. § 1103(a)(3). That includes “authoriz[ing]

                                              2
       Case 2:23-cv-00055-AM Document 23-1 Filed 10/30/23 Page 11 of 42




any employee . . . to perform or exercise any of the powers, privileges, or duties conferred

[by the Immigration and Nationality Act (INA)].” Id. § 1103(a)(4). Those employees

authorized by the Secretary to enforce the INA are known as immigration officers. 8

U.S.C. § 1101(a)(18).

       U.S. Customs and Border Protection (CBP), in coordination with other federal

agencies, is charged with “enforc[ing] and administer[ing] all immigration laws,”

including “the inspection . . . and admission of persons who seek to enter” the United

States and “the detection, interdiction, removal . . . and transfer of persons unlawfully

entering . . . the United States.” 6 U.S.C. § 211(c)(8). U.S. Border Patrol is “the law

enforcement office of [CBP] with primary responsibility for interdicting persons

attempting to illegally enter . . . the United States” and for “deter[ring] and prevent[ing]

the illegal entry of terrorists, . . . persons, and contraband.” Id. § 211(e)(3)(A)-(B).

       Individual immigration officers, including Border Patrol agents, also have express

statutory authority “to interrogate any [noncitizen] or person believed to be [a noncitizen]

as to his right to be or remain in the United States” and “to arrest any [noncitizen] who

in his presence or view is entering or attempting to enter the United States in violation of

any law.” 8 U.S.C. § 1357(a)(1)-(2). Before Congress enacted § 1357(a)(3), Border Patrol’s

“activities . . . in certain areas [were] seriously impaired by the refusal of some property

owners along the border to allow patrol officers access to extensive border areas in order

to prevent such illegal entries.” H.R. Rep. No. 82-1377, 1952 U.S.C.C.A.N. 1358, 1360.

Congress responded by codifying that agents may “access . . . private lands” without a

warrant within 25 miles of an external border “for the purposes of patrolling the border

                                               3
       Case 2:23-cv-00055-AM Document 23-1 Filed 10/30/23 Page 12 of 42




to prevent the illegal entry of [noncitizens] into the United States,” 8 U.S.C. § 1357(a)(3).

This means that Border Patrol agents may “conduct[ ] such activities as are customary, or

reasonable and necessary, to prevent the illegal entry of aliens into the United States.” 8

C.F.R. § 287.1(c); see H.R. Rep. No. 82-1377, 1952 U.S.C.C.A.N. at 1360 (Section 1357(a)(3)

“adequately authorize[s] immigration officers to continue their normal patrol activities,

concerning which Congress has been well informed during the past 48 years, and which

authority it unquestionably meant these officers to exercise.”).

       Noncitizens who have already crossed the international boundary into the United

States stand on a different legal footing from those who have not. Under the INA, a

noncitizen “present in the United States who has not been admitted or who arrives in the

United States (whether or not at a designated port of arrival . . .)” is “deemed . . . an

applicant for admission.” 8 U.S.C. § 1225(a)(1). And the INA authorizes “immigration

officers” to “inspect[]” all such applicants, as well as those “who are applicants for

admission or otherwise seeking admission or readmission to or transit through the

United States.” Id. § 1225(a)(3).

       If an immigration officer determines that a noncitizen is inadmissible, the

noncitizen may be removed or be permitted to depart from the United States only under

the statutes’ specified procedures, see id. §§ 1225(a)(4) (withdrawal); 1229a (removal

proceedings); 1225(b)(1)(A) (expedited removal procedures). Inadmissible noncitizens

may be detained pending removal. Id. §§ 1225(b)(1), 1226. With limited exceptions,

Congress has specified that a noncitizen “who is physically present in the United States

or who arrives in the United States (whether or not at a designated port of arrival . . . ),

                                             4
       Case 2:23-cv-00055-AM Document 23-1 Filed 10/30/23 Page 13 of 42




irrespective of such [noncitizen’s] status, may apply for asylum.” Id. § 1158(a). And

certain noncitizens encountered by Border Patrol agents may be subject to criminal

prosecution. See id. § 1328 (“Reentry of removed aliens”).

       No immigration statute that Congress has enacted authorizes Border Patrol agents

to simply push noncitizens already present in the United States back to Mexico.

II.    Factual Background

       The United States and Mexico share a border nearly 2,000 miles long. From the

Gulf of Mexico to the southern border of New Mexico, the middle of the Rio Grande

serves as “[t]he boundary line between the two republics.” Treaty of Peace, Friendship,

Limits, and Settlement between the United States of America and the Mexican Republic,

Feb. 2, 1848, 9 Stat. 922, 1848 WL 6374, at *3. In Fiscal Year 2023, Border Patrol agents had

over 2 million encounters with noncitizens at the Southwest land border, including

approximately 400,000 in the Del Rio Sector. See CBP, Southwest Land Border Encounters

(By Component) (last modified Oct. 21, 2023), https://perma.cc/7WKS-2GRF. Border

Patrol agents in the Del Rio Sector are responsible for patrolling 245 miles of the U.S.-

Mexico border. Declaration of David S. BeMiller ¶ 3.

       One of Border Patrol’s main statutory objectives is to deter illegal entry into the

United States and to intercept individuals who are attempting to unlawfully enter,

including terrorists, criminals, and smugglers, before they can move to the interior of the

country. Id. ¶ 4. As one exercise of this authority, agents patrol areas between ports of

entry along the Rio Grande in the Del Rio Sector. Id. ¶¶ 3-4. Agents apprehend

noncitizens unlawfully entering the country, inspect them, process them, and in

                                             5
       Case 2:23-cv-00055-AM Document 23-1 Filed 10/30/23 Page 14 of 42




appropriate circumstances place them in removal proceedings. Id. ¶ 4. The land along the

border in the Del Rio Sector consists primarily of farms and ranches. Id. ¶ 3. Agency

guidance has long advised Border Patrol agents to coordinate with private landowners

when encountering locks, fences, and other barriers preventing access to the border and

to take steps to ameliorate any damage caused to such private property. Id. ¶ 6. However,

Border Patrol agents are authorized to cut locks or remove barriers if necessary to access

private lands and perform their duties. See id. ¶¶ 6, 19; see also 8 U.S.C. § 1357(a)(3).

       In March 2021, Governor Abbott launched Operation Lone Star. Compl. ¶ 30, ECF

No. 1. As part of that initiative, Texas has deployed concertina wire along the riverbank

of the U.S. side of the Rio Grande “to deter” noncitizens from crossing into the United

States. Id. ¶ 32.1 Defendants have observed this wire on the U.S. side of the Rio Grande

itself and across gates that provide access to the river. BeMiller Decl. ¶ 11. Texas alleges

that the wire “is lawfully in place on state, municipal, or private land,” Compl. ¶ 63,2 and

that it “has not placed concertina wire on any federal land near Eagle Pass,” id. ¶ 59.3

Because the concertina wire is on the U.S. side of the Rio Grande, any noncitizen




1 In addition, Texas has installed a floating buoy barrier in the Rio Grande near Eagle Pass

to stop migrants from crossing the river. That barrier structure is the subject of a suit by
the United States. See United States v. Abbott, 1:23-cv-00853-DII (W.D. Tex.), appeal of PI
pending, No. 23-50632 (5th Cir.).
2 On page 23 of Texas’s complaint, it restarts numbering paragraphs so that there are two

paragraphs numbered 61, 62, 63, 64, and 65. Except where noted, Defendants’ citations to
these paragraphs in the complaint refer to second paragraphs numbered 61, 62, 63, 64,
and 65.
3 For purposes of these motions, Defendants accept this allegation as true. Any placement

of concertina wire on federal land by Texas is presently beyond the scope of this case.
                                              6
       Case 2:23-cv-00055-AM Document 23-1 Filed 10/30/23 Page 15 of 42




approaching this wire from the Rio Grande has already entered the United States.

BeMiller Decl. ¶¶ 8-9.

       Texas’s installation of the concertina wire has reduced Border Patrol agents’ view

of the river and prevented them from apprehending or otherwise accessing noncitizens

who have already unlawfully entered the United States. Id. ¶ 12. This has consequences

for agents, migrants, and others. Most importantly, it makes it more difficult for Border

Patrol to carry out its statutory responsibilities. Id. ¶¶ 12, 15. Migrants who are not

apprehended and who cannot get through the wire travel down the shoreline, sometimes

long distances in significant heat, until there is no wire blocking their egress. Id. ¶ 13. That

increases the chances these migrants will evade apprehension as well as the migrants’

risk of injury, dehydration, fatigue, and drowning. Id. When such circumstances arise,

the wire can reduce Border Patrol’s response time and pose a danger to Border Patrol

agents’ and migrants’ safety. See id. ¶¶ 12, 15, 20-21. And when migrants have tried to

traverse the wire, some have sustained injuries. See id. ¶¶ 21, 24.

       Border Patrol agents have cut or moved the wire where the wire prevents them

from performing their statutory duties to inspect, apprehend, and process noncitizens

who have unlawfully entered the United States or from rendering aid to distressed

individuals. Id. ¶ 16. Contrary to Texas’s allegation, Compl. ¶ 8, Border Patrol does not

have a policy or procedure requiring agents to cut this wire, let alone for the purpose of

destroying Texas’s property or of encouraging unlawful entry into the United States.

BeMiller Decl. ¶¶ 17-18. Rather, agents have been advised to use their independent



                                               7
       Case 2:23-cv-00055-AM Document 23-1 Filed 10/30/23 Page 16 of 42




judgment, subject to supervisory review in appropriate circumstances, in determining

whether cutting the wire is required to fulfill their responsibilities. Id. ¶¶ 19-20.

III.   Litigation History

       On October 24, 2023, Texas filed this lawsuit against DHS and its officials. See

Compl. The State alleges that Defendants “have a policy, practice, or pattern of seizing,

damaging, and destroying Texas’s personal property by cutting, severing, and tearing its

concertina wire fence to introduce breaches, gaps, or holes in the barrier.” Id. ¶ 60. And

it asserts that “[s]ince September 20, [2023], CBP has seized and damaged Texas’s

concertina wire to escort aliens into Texas more than 20 times.” Id. ¶ 59.

       Texas contends that these actions violate Texas common law and the APA. Counts

1 and 2 assert state common law claims for conversion and trespass to property. Id. ¶¶ 61-

74. Counts 3 and 6 assert that Defendants have acted without or in excess of their

statutory authority. Id. ¶¶ 75-89, 98-101. Count 4 asserts that “Defendants’ policy, pattern,

or practice” constitutes a “substantive rule” and that Defendants violated 5 U.S.C.

§ 706(2)(D) by not providing notice and an opportunity to comment beforehand. Compl.

¶¶ 90-92. And Count 5 asserts that Defendants’ alleged destruction of Texas’s concertina

wire was arbitrary and capricious. Id. ¶ 93-97.

       On the same day that it filed the complaint, Texas moved for a preliminary

injunction or, in the alternative, a stay of agency actions based on each of these claims.

See PI Mot. at 39. On October 26, following the filing of Texas’s suit, Defendants used a

front-end loader to temporarily lift the wire, as opposed to cutting it, to minimize damage

to the wire. BeMiller Decl. ¶ 23. In response, the State filed an emergency motion for a

                                              8
       Case 2:23-cv-00055-AM Document 23-1 Filed 10/30/23 Page 17 of 42




TRO or stay of agency action. See Mot. for TRO, ECF No. 8. On October 28, when

Defendants used a front-end loader to move the wire again, in another effort to minimize

damage to the wire, Texas supplemented its filings with another declaration. Notice of

Escalating Property Damage, ECF No. 8. On October 30, 2023, the Court entered a TRO,

enjoining Defendants from, among other things, “removing the [wire] from its present

location [in Eagle Pass, Texas] for any reason other than to provide or obtain emergency

medical aid.” ECF No. 9, Order at 6.

                                    LEGAL STANDARD

       A preliminary injunction is an “extraordinary remedy” and “warranted only when

the movant shows ‘(1) a substantial likelihood of success on the merits, (2) irreparable

injury if the injunction is not granted, (3) that the injury outweighs any harm to the other

party, and (4) that granting the injunction will not disserve the public interest.’” CAE

Integrated, LLC v. Moov Techs., Inc., 44 F.4th 257, 261 (5th Cir. 2022). These factors also

govern a stay application under 5 U.S.C. § 705 “because a stay has the practical effect of

an injunction.” All. for Hippocratic Med. v. FDA, 78 F.4th 210, 242 (5th Cir. 2023). “The

‘burden of persuasion on all of the four requirements . . . is at all times upon the plaintiff.’”

CAE Integrated, 44 F.4th at 261.




                                               9
       Case 2:23-cv-00055-AM Document 23-1 Filed 10/30/23 Page 18 of 42




                                       ARGUMENT

I.     Texas Is Unlikely To Succeed On Its Claims.

       A.     The Court lacks jurisdiction to grant Texas’s requested relief.

       The INA divests this Court of any jurisdiction or authority to restrain Border Patrol

agents from cutting Texas’s concertina wire in the course of inspecting, processing, and

apprehending noncitizens who have crossed the border into the United States. See 8

U.S.C. § 1252(f)(1). Section 1252(f)(1) provides:

              Regardless of the nature of the action or claim or of the
              identity of the party or parties bringing the action, no court
              (other than the Supreme Court) shall have jurisdiction or
              authority to enjoin or restrain the operation of [8 U.S.C.
              §§ 1221–1231], other than with respect to the application of
              such provisions to an individual alien against whom
              proceedings under [those provisions] have been initiated.

The specified provisions, 8 U.S.C. §§ 1221–1231, “charge the Federal Government with

the implementation and enforcement of the immigration laws governing the inspection,

apprehension, examination, and removal of [noncitizens].” Garland v. Aleman Gonzalez,

142 S. Ct. 2057, 2064 (2022). As the Supreme Court has explained, § 1252(f)(1)’s reference

to “the ‘operation’ of the relevant statutes is best understood to refer to the Government’s

efforts to enforce or implement them.” Id. That is, “the ‘operation of the provisions’ is a

reference . . . to the way that [it is] being carried out.” Id. Accordingly, with limited

exceptions inapplicable here, § 1252(f)(1) “prohibits lower courts from entering

injunctions that order federal officials to take or to refrain from taking actions to enforce,

implement, or otherwise carry out the specified statutory provisions.” Id. at 2065.




                                             10
       Case 2:23-cv-00055-AM Document 23-1 Filed 10/30/23 Page 19 of 42




       Here, Texas seeks to restrain Border Patrol agents from exercising their statutory

functions under 8 U.S.C. § 1225 to inspect “applicants for admission,” id. § 1225(a)(1),

(3)—namely, as relevant here, those noncitizens who have already crossed the

international boundary in the middle of the Rio Grande into the United States—and to

inspect, process, apprehend or detain them pending removal proceedings or expedited

removal, id. § 1225; see also id. § 1226 (“Apprehension and detention of aliens”). Indeed,

there is no dispute that Border Patrol agents cut or lift the concertina wire in the course

of performing such duties. See BeMiller Decl. ¶¶ 16, 22; Compl. ¶¶ 58, 61 (pages 19-22);

Declaration of Michael Banks ¶¶ 15-20, Appx.020-025, ECF No. 3-2. In other words, Texas

asks this Court to order Defendants to “refrain from actions that (. . . in the Government’s

view) are allowed” by § 1225. Aleman Gonzalez, 142 S. Ct. at 2065. As such, the order would

“interfere with the Government’s efforts to operate” that provision, which is a provision

specified in 1252(f)(1). Id. Accordingly, the requested relief is barred by § 1252(f)(1). See

Biden v. Texas, 142 S. Ct. 2528, 2538 (2022) (district court’s order enjoining DHS’s Migrant

Protection Protocols, which was implemented under 8 U.S.C. § 1225(b)(2)(C), “violated”

§ 1252(f)(1)). The Court thus lacks jurisdiction to issue the requested relief, and Texas is

unlikely to succeed on the merits. Cf. Munaf v. Geren, 553 U.S. 674, 690 (2008) (“difficult

question as to jurisdiction” makes success on the merits “more unlikely due to potential

impediments to even reaching the merits”).

       Texas cannot frame its request as one for a stay of agency action under 5 U.S.C.

§ 705, rather than an injunction, to avoid § 1252(f)(1)’s reach. Its requested relief would

not just maintain the status quo, but also “restrain the operation” of §§ 1225 and 1226 by

                                             11
       Case 2:23-cv-00055-AM Document 23-1 Filed 10/30/23 Page 20 of 42




restraining Defendants from performing their duties under those provisions, exactly

what § 1252(f)(1) precludes. And if Texas’s requested relief does not “require federal

officials to change how they exercise th[eir] discretion,” then it does not redress Texas’s

alleged injuries. United States v. Texas, 143 S. Ct. 1964, 1979 (2023) (Gorsuch, J.,

concurring). That lack of redressability would deprive them of standing to pursue the

requested relief. Id. Either way, this Court lacks authority to grant the requested relief.

       B.     Texas may not assert its state-law claims against Defendants.

       In Counts 1 and 2 of the complaint (at ¶¶ 61-74), Texas asserts state common law

claims against Defendants: conversion and trespass to chattels. The Court concluded that

Texas was likely to succeed on its trespass to chattels claim, Order at 6-7, but in addition

to this Court’s inability to afford Texas the relief it seeks, the Court lacks jurisdiction to

review Texas’s state-law claims. Congress has not waived the United States’ sovereign

immunity for such claims.4

       It is well established that “the United States may not be sued without its consent

and that the existence of consent is a prerequisite for jurisdiction.” United States v.




4 The complaint (at ¶ 20) cites three statutory bases—28 U.S.C. §§ 1331, 1346, and 1356—

for the Court’s subject matter jurisdiction, but none of them is applicable. The state
common law claims do not “aris[e] under the Constitution, laws, or treaties of the United
States,”28 U.S.C. § 1331; this is not a suit for “money damages” against the “United
States,” id. § 1346; and section 1356 does not cover state-law claims for tortious conversion
of personal property, see Hunsucker v. Phinney, 497 F.2d 29, 35 (5th Cir. 1974); see also PI
Mot. at 24 (noting functional similarity of conversion of and trespass to chattels). While
the Court could potentially exercise supplemental jurisdiction over these state law claims,
see 28 U.S.C. § 1367(a), Texas has made no attempt to show why the Court should do so,
see Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375, 377 (1994) (burden is on the party
invoking federal jurisdiction to establish jurisdiction).
                                              12
       Case 2:23-cv-00055-AM Document 23-1 Filed 10/30/23 Page 21 of 42




Mitchell, 463 U.S. 206, 212 (1983). Moreover, “a waiver of the Government’s sovereign

immunity will be strictly construed, in terms of its scope, in favor of the sovereign.” Lane

v. Pena, 518 U.S. 187, 192 (1996); see also United States v. Williams, 514 U.S. 527, 531 (1995)

(when confronted with a purported waiver of the Federal Government’s sovereign

immunity, the Court will “constru[e] ambiguities in favor of immunity”). Texas invokes

5 U.S.C. § 702’s waiver of sovereign immunity for actions in federal court “seeking

relief other than money damages.” Compl. ¶ 22. But the State cites no binding precedent

establishing that § 702 covers state-law claims. Cf. Michigan v. U.S. Army Corps. of Eng’rs,

667 F.3d 765, 775 (7th Cir. 2011) (“The waiver [in § 702] applies when any federal statute

authorizes review of agency action, as well as in cases involving constitutional challenges

and other claims arising under federal law.” (emphases added)); El-Shifa Pharm. Indus. Co.

v. United States, 607 F.3d 836, 854 (D.C. Cir. 2010) (en banc) (Kavanaugh, J., concurring)

(“State tort law doesn’t run against the United States, so it’s not a federal law that can be

pointed to as a substantive law which is being transgressed for an APA cause of action.”).

As the Fifth Circuit has explained, “[t]hat state law defines certain conduct as tortious . . .

simply does not mean that a private person may sue the U.S. Government solely under

the state’s law,” because “[t]he federal government enjoys complete sovereign immunity

except as it has consented to be sued and consented to submit to liability.” In re Supreme

Beef Processors, Inc., 468 F.3d 248, 255 (5th Cir. 2006) (en banc).

       The Federal Tort Claims Act “waives the United States’ sovereign immunity from

tort suits” in certain circumstances, and is “the exclusive remedy for compensation for a

federal employee’s tortious acts committed in the scope of employment.” McGuire v.

                                              13
       Case 2:23-cv-00055-AM Document 23-1 Filed 10/30/23 Page 22 of 42




Turnbo, 137 F.3d 321, 324 (5th Cir. 1998); Dickson v. United States, 11 F.4th 308, 312 (5th Cir.

2021). But the FTCA’s consent to suit for tort claims against the United States allows a

plaintiff to seek only money damages. 28 U.S.C. § 1346(b). And by expressly permitting

suit for money damages in certain circumstances, the FTCA impliedly precludes claims

for the declaratory and equitable relief that Texas seeks. See Talbert v. United States, 932

F.2d 1064, 1065–66 (4th Cir. 1991) (“[t]he only relief provided for in the [FTCA] is “money

damages,” and thus, court “lack[s] jurisdiction under the FTCA” to grant “other relief”);

Westbay Steel, Inc. v. United States, 970 F.2d 648, 651 (9th Cir. 1992) (same). The “FTCA’s

incorporation of state tort law” cannot be “divorced from that statute’s express limits on

liability.” In re Supreme Beef Processors, Inc., 468 F.3d at 255.

       Even if § 702 could be read broadly to waive the United States’ sovereign

immunity for state common law claims “seeking relief other than money damages,”

intergovernmental immunity would preclude Texas from obtaining an injunction against

the federal government based on state law. The doctrine of intergovernmental immunity

recognizes that the Constitution “prohibit[s] States from interfering with or controlling

the operations of the Federal Government.” United States v. Washington, 142 S. Ct. 1976,

1984 (2022); Mayo v. United States, 319 U.S. 441, 445 (1943) (“[A]ctivities of the Federal

Government are free from regulation by any state.”). Across two centuries, the Supreme

Court has repeatedly affirmed that “the Constitution guarantees ‘the entire independence

of the General Government from any control by the respective States,’” so States can

neither “control the operations of the constitutional laws enacted by Congress,” nor

impede the Executive Branch’s “execution of those laws.” Trump v. Vance, 140 S. Ct. 2412,

                                               14
       Case 2:23-cv-00055-AM Document 23-1 Filed 10/30/23 Page 23 of 42




2425 (2020) (quoting Farmers & Mechs. Sav. Bank of Minneapolis v. Minnesota, 232 U.S. 516,

521 (1914); McCulloch v. Maryland, 17 U.S. (4 Wheat.) 316, 436 (1819)); Arizona v. California,

283 U.S. 423, 451 (1931) (“The United States may perform its functions without

conforming to the police regulations of a state.”).

       Counts 1 and 2 in Texas’s complaint seek to do indirectly—through an injunction

from this Court—what it cannot do directly: use state tort law to regulate how federal

officials conduct their law-enforcement function. But States cannot “control” federal

agents’ “performance of their duties.” Johnson v. Maryland, 254 U.S. 51, 57 (1920); see Leslie

Miller, Inc. v. Arkansas, 352 U.S. 187, 190 (1956); Geo Grp., Inc. v. Newsom, 50 F.4th 745, 755

(9th Cir. 2022). And no “specific congressional action” authorizes this “regulation by a

subordinate sovereign.” Hancock v. Train, 426 U.S. 167, 179 (1976); see El-Shifa Pharm.

Indus. Co., 607 F.3d at 854 (Kavanaugh, J., concurring) (noting that “the APA does not

borrow state law or permit state law to be used as a basis for seeking injunctive or

declaratory relief against the United States”). To hold otherwise would allow States to

flip the Supremacy Clause on its head; States could regulate federal officials and then run

to federal court for an injunction based on state law. It would undermine paramount

interests enshrined in the Supremacy Clause that “uniformity [of] the laws of United

States be dominant over those of any state.” Mayo, 319 U.S. at 445. In sum, Texas would

be unlikely to succeed on its state-law claims even if § 702 waived sovereign immunity.

       C.     Judicial review is not available under the APA.

       In Counts 3, 4, and 5, Texas appears to challenge two separate purported agency

actions: (a) Defendants’ purported “policy, pattern, or practice of seizing and destroying

                                              15
       Case 2:23-cv-00055-AM Document 23-1 Filed 10/30/23 Page 24 of 42




[Texas’s] concertina wire fencing,” Compl. ¶ 87; see id. ¶¶ 91, 96-97, and (b) Defendants’

alleged destruction and seizure of the wire fencing itself, see id. ¶ 88. Texas is unlikely to

succeed in stating a claim for prospective injunctive relief under the APA with respect to

the alleged “policy, pattern, or practice” for threshold reasons. Actions taken pursuant to

the purported “policy, pattern or practice” are “committed to agency discretion by law.”

5 U.S.C. § 701(a)(2). And any “policy, pattern or practice” challenged here is neither

discrete nor “final.” Id. § 704. Moreover, any claim for injunctive relief based on past acts

of wire-cutting is not only precluded by 8 U.S.C. § 1252(f)(1) but also moot, see Fla. Wildlife

Fed. v. Goldschmidt, 611 F.2d 547, 549 (5th Cir. 1980) (“Where the activities sought to be

enjoined have already substantially occurred and the appellate court can not undo what

has already been done, the action is moot.”).

           i.     Defendants’ actions are committed to agency discretion by law.

       Agency actions are not reviewable under the APA “to the extent” that they are

“committed to agency discretion by law.” 8 U.S.C. § 701(a)(2). Here, Congress has granted

Defendants and their agents significant discretion to patrol the border and to use their

judgment in inspecting and apprehending noncitizens they encounter at the border,

which includes the authority to access private lands within 25 miles of the border. See 8

U.S.C. §§ 1103(a), 1225, 1357(a); see also 8 C.F.R. § 287.1(c). There are no “manageable

standards . . . available for judging” ex ante “how and when” Border Patrol agents

“should exercise [that] discretion”—as Texas’s request for relief would have this Court

do. Heckler v. Chaney, 470 U.S. 821, 830 (1985).



                                              16
       Case 2:23-cv-00055-AM Document 23-1 Filed 10/30/23 Page 25 of 42




       Section 701(a)(2) precludes review “where the relevant statute is drawn so that a

court would have no meaningful standard against which to judge the agency’s exercise

of discretion.” Lincoln v. Vigil, 508 U.S. 182, 191 (1993). There are “certain categories of

administrative decisions that courts traditionally have regarded as ‘committed to agency

discretion,’” id., such as enforcement decisions, see Chaney, 470 U.S. at 831-32, and ones

involving “interests in national security, an area of executive action ‘in which courts have

long been hesitant to intrude,’” Lincoln, 508 U.S. at 192 (citing Webster v. Doe, 486 U.S. 592,

599-600 (1988)). Each of them “requires ‘a complicated balancing of a number of factors

which are peculiarly within [the agency’s] expertise.’” Id. at 193 (quoting Chaney, 470 U.S.

at 831). Those factors include “whether a violation has occurred,” how agency resources

are spent, and “whether the agency is likely to succeed if it acts.” Chaney, 470 U.S. at 831.

       Here, Texas seeks judicial review that goes to the heart of Defendants’ exercise of

quintessential enforcement discretion. As an initial matter, the relevant statutes grant

Defendants broad discretion to carry out their law-enforcement duties and do not

provide “meaningful standards for defining the limits of that discretion” in the abstract.

Id. at 834. Texas acknowledges that Defendants have the ‘“power and duty to control and

guard the boundaries and borders of the United States,’” PI Mot. at 27 (quoting 8 U.S.C.

§ 1103(a)(5)), and that Congress has specifically granted Defendants ‘“access to private

lands . . . for the purpose of patrolling the border to prevent the illegal entry of

[noncitizens] into the United States,”’ id. (quoting 8 U.S.C. § 1357(a)(3)); see also id. (citing

broad grants of authority under 6 U.S.C. §§ 202(5), 211(c), (e)). But Congress went further

and authorized the Secretary to “perform such other acts as he deems necessary for carrying

                                               17
       Case 2:23-cv-00055-AM Document 23-1 Filed 10/30/23 Page 26 of 42




out his authority,” 8 U.S.C. § 1103(a)(3) (emphasis added), including authorizing

employees to “exercise any of the powers, privileges, or duties” conferred on him by the

INA, id. § 1103(a)(4); see H.R. Rep. No. 82-1377, 1952 U.S.C.C.A.N. at 1360 (Section

1357(a)(3) “adequately authorize[s] immigration officers to continue their normal patrol

activities” on private lands.). And the Secretary has, in fact, authorized Border Patrol

agents to “conduct[] such activities as are customary, or reasonable and necessary, to

prevent the illegal entry of [noncitizens] into the United States.” 8 C.F.R. § 287.1(c). These

provisions grant Defendants broad discretion, cf. Texas v. EPA, 983 F.3d 826, 834-35 (5th

Cir. 2020) (finding permissive language as evidence “decision [wa]s ‘committed to

agency discretion by law’”), and provide no meaningful standard for this Court to judge

ex ante which methods and actions are permissible in carrying out Defendants’ law-

enforcement responsibilities. See Texas, 143 S. Ct. at 1972 (The “complicated balancing

process” involved in “devising arrest and prosecution policies” “leaves courts without

meaningful standards for assessing those policies.”).

       These law-enforcement decisions, moreover, are of the type that courts have

traditionally considered committed to agency discretion. Indeed, these decisions require

individual officers to balance a variety of factors in fast-moving situations based on their

training and expertise and the facts at hand. The exercise of enforcement discretion here

also necessarily involves national-security interests in securing the border. See id. at 1970-

72; Hernandez v. Mesa, 140 S. Ct. 735, 746 (2020) (noting that control of an international

“border has a clear and strong connection to national security”); United States v. Delgado-

Garcia, 374 F.3d 1337, 1345 (D.C. Cir. 2004) (“[T]his country’s border-control policies are

                                             18
       Case 2:23-cv-00055-AM Document 23-1 Filed 10/30/23 Page 27 of 42




of crucial importance to the national security and foreign policy of the United States.”).

And, of course, federal officials use their broad discretion in executing their statutory

mission to enforce this Nation’s immigration laws, which includes, as noted above, the

inspection and processing of applicants for admission and the removal of inadmissible

noncitizens. Because there is no standard to apply to judge law-enforcement tactics in the

abstract, review under the APA is unavailable. See 5 U.S.C. § 701(a)(2).

          ii.     The alleged “policy, practice, and pattern” is not final agency action.

       The APA permits review of only discrete and “final agency action.” Id. § 704. A

plaintiff must challenge “a specific” “agency action.” Sierra Club v. Peterson, 228 F.3d 559,

565 (5th Cir. 2000); see 5 U.S.C. § 551(13) (defining “agency action”). General

“programmatic” attacks on how an agency conducts its day-to-day operations are not

cognizable. Lujan v. Nat’l Wildlife Fed’n, 497 U.S. 871, 891 (1990); see Norton v. S. Utah

Wilderness All., 542 U.S. 55, 66-67 (2004). Moreover, two conditions must be satisfied for

an agency action to be deemed final. “First, the action must mark the consummation of

the agency’s decisionmaking process—it must not be of a merely tentative or

interlocutory nature.” U.S. Army Corps of Eng’rs v. Hawkes Co., 578 U.S. 590, 597 (2016)

(quoting Bennett v. Spear, 520 U.S. 154, 177-78 (1997)). “And second, the action must be

one by which rights or obligations have been determined, or from which legal

consequences will flow.” Id. Even apart from this Court’s inability to grant Texas the

injunctive relief it seeks, Texas’s challenges to Defendants’ actions do not satisfy these

requirements.



                                             19
       Case 2:23-cv-00055-AM Document 23-1 Filed 10/30/23 Page 28 of 42




       First, Defendants’ purported “patterns and practices” that Texas challenges in

Counts 3, 4, and 5 do not constitute discrete agency action. The “pattern” and “practice”

that Texas identifies are agents performing their day-to-day duties of apprehending,

inspecting, and processing noncitizens who have already crossed the border unlawfully,

which could require the cutting of Texas’s concertina wire to access the noncitizens or to

private lands along the border. See Compl ¶ 8. Texas is not challenging specific actions

but the overall allowance of certain law enforcement methods; thus, the suit is a

“programmatic” attack that is not cognizable under the APA. See Nat’l Wildlife, 497 U.S.

at 891; Bark v. U.S. Forest Serv., 37 F. Supp. 3d 41, 50-51 (D.D.C. 2014). The fact that Texas

pointed to “specific allegedly-improper” agency conduct “within that [alleged] program”

makes no difference, Peterson, 228 F.3d at 567, because the State is effectively asking this

Court to “supervise an agency’s compliance with [its] broad statutory mandate” to patrol

the border, City of New York v. Dep’t of Def., 913 F.3d 423, 433 (4th Cir. 2019), and to inspect

noncitizens who have crossed the border. Yet “the obvious inability for a court to function

in such a day-to-day managerial role over agency operations is precisely the reason why

the APA limits judicial review to discrete agency actions.” Id. at 434.

       The Fifth Circuit’s decision in Sierra Club v. Peterson is instructive. The plaintiffs in

that case challenged “the [U.S.] Forest Service’s program of timber management in the

Texas forests,” 228 F.3d at 566, on basis that the Forest Service’s allowance of certain

“timber harvesting techniques” contravened a federal statute, id. at 563. The Fifth Circuit

held that the program—as opposed to particular individual sales—was not an

“identifiable action or event” reviewable under the APA. Id. at 566. Allowing such a

                                              20
       Case 2:23-cv-00055-AM Document 23-1 Filed 10/30/23 Page 29 of 42




challenge to proceed, the Court reasoned, would exceed the “institutional limits on

courts” and “encroach[] on the other branches of government.” Id. This problem with

justiciability, the Court further held, was not resolved by the plaintiffs’ ability to identify

specific timber sales “as evidence” of the Forest Services’ management program. Id. at

567. The same is true here: Texas is challenging DHS’s day-to-day immigration

enforcement at the border, and pointing to specific instances of wire cutting or lifting

does not transform Texas’ programmatic attack into a discrete agency action.

Accordingly, Texas’s “pattern and practice” claim is unlikely to succeed.

       Second, there is no agency “policy” that either exists or is sufficiently final to be

reviewable. Texas alleges that “[s]ince September 20, 2023, federal agents have developed

and implemented a policy . . . of destroying Texas’s concertina wire to encourage and

assist thousands of aliens to illegally cross the Rio Grande and enter Texas.” Compl. ¶ 8;

see id. ¶¶ 60-61 (page 22). Texas cites a number of discrete actions and infers that “an

overarching policy” must exist. But there is nothing to support the legal conclusion that

such a purported policy exists. See Al Otro Lado, Inc. v. Nielsen, 327 F. Supp. 3d 1284, 1321

(S.D. Cal. 2018) (complaint failed to state discrete agency action where “there are no

allegations connecting any of [CBP agents’] conduct” to the “unwritten policy” alleged

by plaintiffs to have been issued by CBP). This is confirmed by the Chief of Law

Enforcement Operations for the U.S. Border Patrol. BeMiller Decl. ¶¶ 17–18.

       Although CBP has provided general guidance to individual officers concerning

Texas’s concertina wire, any such guidance does not satisfy either condition for final

agency action. To start, the guidance does not represent the consummation of the

                                              21
       Case 2:23-cv-00055-AM Document 23-1 Filed 10/30/23 Page 30 of 42




agency’s decisionmaking process. By its nature, the informal guidance contemplates

further decisions, i.e., the agents’ independent on-the-ground decisionmaking based on

the facts presented in a particular circumstance. Id. ¶¶ 19-20; cf. DRG Funding Corp. v.

Sec’y of Hous. & Urb. Dev., 76 F.3d 1212, 1215 (D.C. Cir. 1996) (contemplation of further

agency action indicates that agency decisionmaking is not final). The guidance reinforces

the agents’ discretion to exercise their independent judgment, rather than direct a specific

course of action. BeMiller Decl. ¶¶ 19-20; cf. Hawkes, 578 U.S. at 598 (a “definitive

decision” after fact-finding is consummation of agency decisionmaking). And it lacks

indicia of formality or finality, such as publication in the Federal Register. Cf. Soundboard

Ass’n v. FTC, 888 F.3d 1261, 1268 (D.C. Cir. 2018) (“informal” letter issued by “subordinate

official” not consummation of agency decisionmaking). These data points indicate that

the guidance does not satisfy the first condition for final agency action, and little suggests

otherwise.

       Moreover, no legal consequences flow from the Board Patrol guidance, and the

guidance does not determine any rights or obligations. Hawkes, 578 U.S. at 597. It does

not “impose liability on a regulated party, create legal rights, or mandate, bind, or limit

other government actors in the future.” Arizona v. Biden, 40 F.4th 375, 387 (6th Cir. 2022)

(Sutton, C.J.). Nor does it have any “direct effect on [Texas’s] day-to-day business.” Id.

Instead, the guidance “maintains officials’ independent decisionmaking” expressed in

the statutes discussed above, allowing broad discretion for federal officials to conduct

their immigration-enforcement operations. Id. Accordingly, the guidance “lacks legal

effect,” and is not reviewable under the APA. Id.

                                             22
       Case 2:23-cv-00055-AM Document 23-1 Filed 10/30/23 Page 31 of 42




       D.     Defendants’ actions are consistent with their broad statutory authority.

       In Counts 3 and 6, Texas claims that Defendants exceeded their statutory authority

in cutting the concertina wire, at least in some circumstances, and that those actions are

reviewable under the APA, Compl. ¶¶ 75-89, or under principles of nonstatutory review,

id. ¶¶ 98-101. The State is incorrect and thus unlikely to succeed on either claim.

       Congress has authorized Defendants to take necessary actions, which will include

in some circumstances cutting Texas’s (or any other party’s) concertina wire, to carry out

their statutory duties. As discussed above, Congress has charged Defendants with

“detect[ing], interdict[ing], [and] remov[ing] . . . persons unlawfully entering . . . the

United States,” 6 U.S.C. § 211(c)(8)(B), and with “inspect[ing] . . . persons who seek to

enter . . . the United States,” id. § 211(c)(8)(A); see also 8 U.S.C. §§ 1225 (requiring

immigration officials to inspect “applicants” for admission whether or not at a port of

entry), 1226 (concerning the “[a]pprehension and detention” of noncitizens). It has

granted Defendants “the power and duty to control and guard the boundaries and

borders of the United States against the illegal entry of [noncitizens]” and to “perform

such other acts as . . . necessary for carrying out [t]his authority.” Id. § 1103(a)(3), (5).

       Further, it has granted individual officers authority to “access . . . private lands . . .

for the purpose of patrolling the border,” id. § 1357(a)(3), which includes “activities . . .

reasonable and necessary[] to prevent the illegal entry of [noncitizens] into the United

States,” 8 C.F.R. § 287.1(c). Congress specifically did so because “the refusal of some

property owners along the border to allow patrol officers access” to their land “in order

to prevent such illegal entries” was “endanger[ing] the national security” and “affect[ing]

                                               23
       Case 2:23-cv-00055-AM Document 23-1 Filed 10/30/23 Page 32 of 42




the sovereign right of the United States to protect its own boundaries against the entry of

[noncitizens], including those of the most dangerous classes.” H.R. Rep. No. 82-1377, 1952

U.S.C.C.A.N. at 1360. Contrary to the State’s assertions, see PI Mot. at 25, Texas’s

concertina wire, as Mr. BeMiller’s declaration shows, similarly obstructs Border Patrol

agents from fulfilling their responsibilities, and in certain circumstances, it has been

necessary for agents to cut or move the wire to interdict and inspect noncitizens crossing

the Rio Grande into the United States, see BeMiller Decl. ¶ 16.

       Congress “unquestionably meant these officers to exercise” their responsibilities

to protect the national security and “adequately authorize[d] immigration officers to

continue their normal patrol activities.” H.R. Rep. No. 82-1377, 1952 U.S.C.C.A.N. at 1360.

Cutting, lifting, or otherwise moving the wire is therefore fully authorized by a

straightforward application of the foregoing authorities.

       Texas’s contention otherwise ignores key statutory provisions and is inconsistent

with background understandings of law-enforcement authority. PI Mot. 26-28. While the

State recites a number of key provisions outlining Defendants’ responsibilities, see id. at

26-27 (citing, among others, 8 U.S.C. § 1357(a)(3)), it ignores subsections (a)(3) and (a)(4)

of 8 U.S.C. § 1103. Those subsections allow agents, acting on the Secretary’s delegated

authority, to “perform such other acts as [are] deem[ed] necessary for carrying out” their

duties. 8 U.S.C. § 1103(a)(3). That can include cutting or lifting the wire. No additional

authorization is required, as Texas suggests (PI Mot. at 27), because these subsections

provide that authorization. And even if those subsections did not provide sufficient

authorization on their own, the authority to take necessary supporting actions, such as

                                             24
       Case 2:23-cv-00055-AM Document 23-1 Filed 10/30/23 Page 33 of 42




cutting or lifting the wire in certain circumstances, is included within the general grant

of power to access private lands without a warrant and to interdict, inspect, and even

arrest noncitizens. Cf. Steele v. City of Hous., 603 S.W.2d 786, 792-93 (Tex. 1980)

(recognizing government may defend its “destruction of … property as a means to

apprehend escapees [a]s a classic instance of police power” by showing “public

necessity”). Indeed, consistent with these authorities Border Patrol has long recognized

that its agents may exercise their judgment to take steps to cut locks or fencing that

prohibits access to areas immediately adjacent to the border where such access is needed

if they cannot obtain cooperation from the private landowners. BeMiller Decl. ¶ 6; see

H.R. Rep. No. 82-1377, 1952 U.S.C.C.A.N. at 1360 (Section 1357(a)(3) is “positive

legislative enactment authoriz[ing] specifically that which must always have been of

necessity implied from the time the border patrol was first created.”).

       E.     Defendants’ actions do not constitute a legislative rule.

       Texas wrongly contends that “Defendants’ [purported] policy” of “destroying [its]

concertina wire” is a legislative rule that “should have been subject to notice and

comment.” PI Mot. 28.5 The “policy” as alleged by Texas does not constitute a legislative




5 At points, Texas suggests that destroying the wire “is a sanction equivalent to a
substantive rule” and “subject to notice and comment.” PI Mot. 28, 30; see id. at 29
(“Defendants’ sanction was also substantive.”). These statements conflate two mutually
exclusive concepts. Compare 5 U.S.C. § 551(4) (defining a “rule” as “an agency statement
of general or particular applicability and future effect”), with id. § 551(10)(D) (defining a
“sanction,” in relevant part, as the past “destruction, taking, seizure, or withholding of
property”). The notice-and-comment requirement applies only to certain rulemakings,
see id. § 553(b)(A), and has no more relevance to sanctions than it does to adjudications,
see id. § 554 (setting different procedures).
                                             25
       Case 2:23-cv-00055-AM Document 23-1 Filed 10/30/23 Page 34 of 42




rule, and Border Patrol’s actual guidance to its agents also is exempt from notice and

comment because the guidance is at most a “general statement[] of policy,” interpretative

rule, or procedural rule. 5 U.S.C. § 553(b)(A).

       The APA “does not define ‘substantive rules,’” “statements of policy,” or

procedural rules. Pros. & Patients for Customized Care v. Shalala, 56 F.3d 592, 595 (5th Cir.

1995); see also Perez v. Mortg. Bankers Ass’n, 575 U.S. 92, 97 (2015). But at their essence,

substantive rules or “[l]egislative rules are ones with the ‘force and effect of law.’” Mock

v. Garland, 75 F.4th 563, 578 (5th Cir. 2023). In contrast, statements of policy “leave[] the

agency and its decisionmakers free to exercise discretion” and do “not impose any rights

or obligations.” Texas v. United States, 809 F.3d 134, 171 (5th Cir. 2015) (DAPA).

Interpretive rules are “issued by an agency to advise the public of the agency’s

construction of the statutes and rules which it administers,” and “do not have the force

and effect of law.” Perez, 575 U.S. at 97. And procedural rules are directed at the agency’s

internal workings, do not create new law, and do not have “a substantial impact on the

regulated industry.” Dep’t of Labor v. Kast Metals Corp., 744 F.2d 1145, 1153 (5th Cir. 1984).

       Texas has failed to allege facts establishing that Defendants’ purported “policy” is

a legislative rule. The State does not show that the “policy” has the force and effect of

law, imposes any rights or obligations, or affects individual rights. Mock, 75 F.4th at 579

(cleaned up).6 Further, Texas has not alleged that the “policy” bears any of the hallmarks



6 Texas claim that “the destruction of concertina wire changes the substantive standards

by which [noncitizens] are permitted to enter the United States.” PI Mot. at 30. That relies
on an incorrect premise because migrants who have crossed the middle of the Rio Grande
are already in the United States. See pp. 6-7, supra.
                                             26
       Case 2:23-cv-00055-AM Document 23-1 Filed 10/30/23 Page 35 of 42




of a legislative rule—e.g., that “the agency intend[s] to speak with the force of law”; that

the “policy is published in the Code of Federal Regulations, with the agency “explicitly

invok[ing] its general legislative authority”; or that the agency has “claimed Chevron

deference.” Id. at 580. Indeed, Texas has not pointed to any “language actually used by

the agency” or shown that the “policy,” as opposed to the exercise of statutory authority,

“w[ould] produce significant effects on private interests.” Id. (cleaned up).

       In fact, to the extent that a policy exists, it is embodied in the informal guidance

provided to Border Patrol agents that reinforced those agents’ independent, day-to-day

decisionmaking authority; the guidance qualifies, at most, as a general statement of

policy, interpretative rule, or procedural rule. The informal guidance does not deny or

limit the agents’ discretion in how they apprehend or inspect noncitizens. See BeMiller

Decl. ¶¶ 19-20. It arguably interprets the authority that the various statutes provide to

Border Patrol agents, potentially making it an interpretative rule. See id. And because it

informs agents in the field of the internal procedure for ensuring that supervisors are

notified when wire is cut and that noncitizens receive emergency medical treatment, it

could be considered a procedural rule. Id. The impact of this guidance is merely

“derivative,” “incidental,” or “mechanical,” and thus, the notice and comment

procedures are inapplicable. DAPA, 809 F.3d at 176.

       Texas has not shown that cutting wire in certain circumstances has a causal

relation to “the security of Texas residents” or “the interests of Texas taxpayers.” PI Mot.

30-31. If anything, it is Border Patrol’s enforcement of immigration laws and the



                                            27
       Case 2:23-cv-00055-AM Document 23-1 Filed 10/30/23 Page 36 of 42




noncitizens’ decision to enter the United States that affects those interests. See Appx.030-

062. Texas’s notice-and-comment claim in Count 4 is therefore unlikely to succeed.

       F. Defendants’ actions are not arbitrary or capricious.

       Even if Texas’s claims were reviewable under the APA, the State is unlikely to

succeed in showing that Defendants’ actions were arbitrary and capricious. The

arbitrary-and-capricious standard under the APA is “narrow and highly deferential.”

Sierra Club v. U.S. Dep’t of Interior, 990 F.3d 909, 913 (5th Cir. 2021). Under that standard,

a court considers “whether the decision was based on a consideration of the relevant

factors and whether there has been a clear error of judgment.” Motor Vehicle Mfrs. Ass’n

of U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983); accord Sierra Club, 990

F.3d at 913. “[A] court is not to substitute its judgment for that of the agency[.]” State

Farm, 463 U.S. at 43; accord Sierra Club, 990 F.3d at 913.

       In this case, the agents’ decisions to cut the wire were reasonable in that they

furthered the agents’ execution of their statutory duties. Indeed, Border Patrol guidance

since at least the 1980s has advised agents to exercise their judgment to cut any lock or

fencing that impedes their access to the area immediately adjacent to the border if such

access is necessary to carry out their statutory duties to patrol the area or to inspect or

apprehend noncitizens. BeMiller ¶ 6. Texas’s allegations show as much. For each instance

of wire-cutting that Texas identifies, it acknowledges that Border Patrol agents did so to

apprehend, inspect, and process noncitizens who have already entered the United States.

See Compl. ¶ 58 (identifying over 20 instances). Moreover, some agents’ decision to use a

front-end loader to lift the wire near Shelby Park—rather than cutting it—was to

                                              28
       Case 2:23-cv-00055-AM Document 23-1 Filed 10/30/23 Page 37 of 42




minimize damage to the wire while still allowing the agents to carry out their duties.

BeMiller Decl. ¶ 22. These actions in direct furtherance of statutory duties are reasonable

and reasoned decisionmaking, and easily pass arbitrary-and-capricious review.

II.    Texas Has Not Demonstrated That It Will Suffer Irreparable Harm.

       Texas must “demonstrate[] that irreparable injury is likely in the absence of an

injunction” to obtain its requested relief. Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7,

22 (2008). It identifies three alleged harms in merely two paragraphs: (1) the destruction

of the concertina wire, (2) “expenditures in providing emergency medical services, social

services and public education” due to “increased illegal entry into the State,” and

(3) frustration of “the State’s ability to protect its residents from deadly fentanyl.” PI Mot.

at 37. None of these is sufficient to establish irreparable harm.

       First, if the Court finds that Texas can assert state tort-law claims against the

federal government, see Order at 7, any harm to the concertina wire itself is not

irreparable. “Irreparable injury is ‘harm for which there is no adequate remedy at law.’”

Anibowei v. Morgan, 70 F.4th 898, 902 (5th Cir. 2023). “The possibility that adequate

compensatory or other corrective relief will be available at a later date”—including in a

subsequent, separate suit—weighs “heavily against a claim of irreparable harm.” Dennis

Melancon, Inc. v. City of New Orleans, 703 F.3d 262, 279 (5th Cir. 2012) (emphasis added);

id. (noting a lack of irreparable harm where the plaintiffs “have recourse” in “the form of

subsequent civil suits” to recover the amounts at issue). Monetary compensation would

be an adequate remedy here, where the concertina wire is a mass-produced good, see

Compl. ¶ 37, and damages “are the norm in actions involving personal property because

                                              29
       Case 2:23-cv-00055-AM Document 23-1 Filed 10/30/23 Page 38 of 42




personal property is relatively fungible.” Towers Charter & Marine Corp. v. Cadillac Ins. Co.,

894 F.2d 516, 523 (2d Cir. 1990); accord Sambrana v. United Airlines, Inc., 2022 WL 486610,

at *16-17 (5th Cir. Feb. 17, 2022) (Smith, J., dissenting) (“[H]arms to real property, every

plot of which is unique, often call for equitable remedies, while harms to personal

property do not.”); Wright & Miller, 11A Federal Practice & Procedure § 2944 (3d ed.).

       In issuing the TRO, this Court found that Texas would be irreparably harmed

because money damages are unavailable for Texas’s property damage. See Order at 8

(“the only ‘harm’ before this Court at the moment is the cost of the destruction of the

Plaintiff’s property, which is the wire barrier”). But Texas could pursue whatever

remedies are available under the Federal Tort Claims Act (FTCA), which as discussed

above, waives the federal government’s sovereign immunity for money damages in

certain circumstances. See 28 U.S.C. § 1346; see also 28 C.F.R. §§ 14.1-14.11 (governing

process for seeking compensation for property damage from DHS). And even if damages

were unavailable under the FTCA, authority exists for the settlement of claims “for

damage to, or loss of, privately owned property caused by an investigative or law

enforcement officer (as defined in section 2680(h) of Title 28) who is employed by the

Customs Service and acting within the scope of his or her employment.” 19 U.S.C.

§ 1630(a).

       Second, Texas’s purported harm of increased expenditures in providing

emergency medical services, social services, and public education is not cognizable, let

alone a basis for establishing irreparable harm. As the Supreme Court just held, Texas

has no cognizable interest in how the federal government exercises its enforcement

                                             30
       Case 2:23-cv-00055-AM Document 23-1 Filed 10/30/23 Page 39 of 42




discretion, Texas, 143 S. Ct. at 1970–71, and reframing that interest as “indirect effects on

state revenues or state spending” does not overcome this “fundamental” problem, id. at

1972 n.3. Moreover, there is no way to know whether individuals Defendants

apprehended after cutting wire would have otherwise entered Texas anyway.

       Third, any alleged impairment of Texas’s interest to protect its citizens from

fentanyl is not cognizable in a suit against the Federal Government, and still less does it

constitute irreparable harm. Cf. Haaland v. Brackeen, 143 S. Ct. 1609, 1640 (2023) (Texas had

no standing to assert claim on behalf of its citizens because “[a] State does not have

standing as parens patriae to bring an action against the Federal Government”). Moreover,

even if such an asserted harm is cognizable here, there is no showing that Defendants’

actions will have any impact on Texas’s ability to protect its citizens from fentanyl. For

example, it is unclear how the concertina wire would lead to Texas seizing or excluding

fentanyl that it would not otherwise. And it is also unclear how obstructing Defendants’

efforts to apprehend, inspect, and process noncitizens unlawfully entering the United

States would lead to less fentanyl in circulation. Indeed, Texas notes that Defendants have

made significant seizures of fentanyl, and it is difficult to see how frustrating those efforts

would make Texans safer from illegal drugs. Compl. ¶ 3; see PI Mot. at 12 (noting CBP

drug seizures increased in June and July 2023). As a result, Texas has failed to carry this

essential part of its burden.

III.   An Injunction Would Be Contrary To The Equities And The Public Interest.

       In assessing whether to grant the “extraordinary remedy” of a temporary

restraining order or preliminary injunction, courts “must consider the effect on each party

                                              31
       Case 2:23-cv-00055-AM Document 23-1 Filed 10/30/23 Page 40 of 42




[and on the public] of the granting or withholding of the requested relief.” Winter, 555

U.S. at 24. “These factors merge when the Government is the opposing party.” Nken v.

Holder, 556 U.S. 418, 435 (2009). And here, the balance of equities decidedly tips against

the issuance of any emergency relief.

      Texas’s requested relief will indisputably interfere with Defendants’ efforts to

interdict and inspect noncitizens unlawfully entering the country, including efforts to

secure the Nation’s borders. See BeMiller Decl. ¶ 15. Not only would it impede

Defendants’ enforcement of immigration laws, but it also would have national-security

implications. As Texas acknowledges, it is important to apprehend and inspect

noncitizens who have illegally crossed the border into the United States because they

could be—and have been—terrorists, criminals, and smugglers. See Compl. ¶ 3; TRO Mot.

at 7. Yet the requested relief would prevent federal agents from doing just that.

      Similarly, Texas’s requested relief would harm the foreign relations of the United

States. Mexico has repeatedly lodged official complaints about Texas’s placement of

concertina wire. The foreign ministry of Mexico reported on July 14, 2023 that Mexico

had “sent a diplomatic note to the United States [on June 26] to express its concern over

the installation of a spiral fence of razor wire” and other installations and actions.

Government of Mexico, Information Note No. 04 (July 14, 2023), https://perma.cc/V72L-

GTXE. Mexico specifically “expressed its concern” that the concertina wire would

“obstruct[] and diver[t] runoff into Mexican territory” and requested its removal. Id. The

Mexican foreign ministry further reported that Mexico sent a follow-up note several

weeks later “express[ing] its concern” over “alleged human rights violations” caused by

                                            32
       Case 2:23-cv-00055-AM Document 23-1 Filed 10/30/23 Page 41 of 42




Texas’s actions, including the deployment of concertina wire. Government of Mexico,

Information Note No. 05 (July 26, 2023), https://perma.cc/F932-U9T9. Mexico requested

that the federal government investigate possible impact on “the integrity of migrants”

and risks of “serious damage [to] people’s well-being.” Id. A court order preventing

Defendants from freely traversing the wire to offer emergency assistance to individuals

already in the United States would exacerbate Mexico’s concerns, affecting U.S. foreign

relations.

       On the other side of the ledger, Texas cites generalized concerns without showing

that keeping concertina wire in place will address them in any appreciable manner. See

PI Mot. at 37-38. That is insufficient to tip the scale in favor of Texas’s requested relief,

particularly given the weighty federal sovereignty interests at stake on the other side. The

motion for preliminary injunction should be denied.

                                     CONCLUSION
       For these reasons, Texas’s motion for a preliminary injunction should be denied.




                                             33
      Case 2:23-cv-00055-AM Document 23-1 Filed 10/30/23 Page 42 of 42




Dated: October 30, 2023            Respectfully submitted,

                                   BRIAN M. BOYNTON
                                   Principal Deputy Assistant Attorney General

                                   JAIME ESPARZA
                                   United States Attorney

                                   JEAN LIN
                                   Special Litigation Counsel

                                   /s/Christopher A. Eiswerth
                                   Christopher A. Eiswerth (D.C. Bar 1029490)
                                   Stephen Ehrlich (NY Bar No. 5264171)
                                   Faith E. Lowry (TX Bar No. 24099560)
                                   Trial Attorneys
                                   U.S. Department of Justice
                                   Federal Programs Branch, Civil Division
                                   1100 L St., N.W.
                                   Washington, D.C. 20005
                                   Tel: (202) 305-0568 / Fax: (202) 616-8460
                                   christopher.a.eiswerth@usdoj.gov

                                   Counsel for Defendants




                                     34
